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                                                                      June 22, 2022

VIA ECF
Magistrate Judge Steven L. Tiscione
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

         Re: Jane Doe v. Long Island Motors and David Delvecchio
             Docket No.: 21-cv-1232 (GRB)(ST)

Your Honor:

         This office represents Plaintiff, Jane Doe, in the above-referenced matter. I write to inform
the court enclosed herewith please find proof of service served on June 16, 2022. As per the Court’s
Order dated June 14, 2022, Defendants’ objections to the Court’s Report and Recommendations,
if any, is due by June 30, 2022.

                                                      Respectfully submitted,


                                                             /s/
                                                      Joshua M. Friedman, Esq.
